                                  Case 1:21-cr-00367-RDM Document 7 Filed 04/26/21 Page 1 of 12



 AO 442 (Rev. 11111) Arrest Warrant



                                                                   UNITED STATES DISTRICT COURT
                                                                                                  for the

                                                                                       District   of Columbia


                            United States of America
                                                             v.                                    )
                                                                                                   )
                                                                                                        Case: 1:21-mj-00381
                                        Jalise Middleton
                                                                                                   )    Assigned To: Meriweather, Robin M.
                                                                                                   )    Assign. Date: 4/16/2021
                                                                                                   )    Description: COMPLAINT WI ARREST WARRANT
                                                                                                   )
                                                      Defendant

                                                                                    ARREST WARRANT
 To:        Any authorized law enforcement officer


            YOU ARE COMMANDED                                          to arrest and bring before a United States magistrate judge without unnecessary delay
 (name a/persall to be arrested)                                                                            Jalise Middleton
who is accused of an offense or violation based on the following document filed with the court:

o      Indictment                             o            Superseding Indictment       o   Information          o   Superseding      Information        II Complaint
o      Probation Violation Petition                                    o   Supervised Release Violation Petition           o Violation       Notice      0 Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 111(a)(I) - Assaulting, Resisting, or Impeding Certain Officers;
 18 U.S.c. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
 18 U.S.C. §§ 1512(c)(2) and 2 - Obstruction of Just icel Congress;
 18 U.S.C. § 1752(a)(I) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
 18 U .S.C. § I752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 18 U.S.C. § I752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds, 40 U.S.C. § 5104(e)(2)(F) - Violent Entry and
 Disorderly Conduct on Capitol Grounds.
                                                                                                                                            2021.04.16
                                                                                                                                            14:57:48 -04'00'
Date: __          -"--04-'-'-1-"-'16""'/2""0""2•..•.1 __
                                                                                                                               Issuing officer's signature


City and state:                                              Washington, D.C.                                Robin M. Meriweather,            U.S. Magistrate      Judge
                                                                                                                                Printed name and title


                                                                                              Return

           This warrant was received on (date) _4_LP'_'LD"",::..,/h2"'~"""'-"'rz-"--f-'_'              and the person was arrested on (date)                 Lf/z t/1o't4
at (city and state)   ~~               ,1)c.

Date:            /z-'..D1,,,-,,,,--"-,--
         ~",,+,[t~I
                .•.•                                                                                                       Arresting officer's signature
   Case
      Case
        4:21-mj-290
            1:21-cr-00367-RDM
                       NEF for Docket
                                 Document
                                      Entry 72 Filed
                                                Filed04/26/21
                                                      04/22/2021
                                                              PagePage
                                                                  2 of 12
                                                                        1 of 1


MIME−Version:1.0
From:txedCM@txed.uscourts.gov
To:txedcmcc@txed.uscourts.gov
Bcc:
−−Case Participants: Phillip A Linder (attorneylinder@gmail.com,
phillip@thelinderfirm.com), William Richardson Tatum (caseview.ecf@usdoj.gov,
karon.moore@usdoj.gov, katie.branch@usdoj.gov, william.tatum@usdoj.gov), Magistrate Judge
Kimberly C Priest Johnson (jane_amerson@txed.uscourts.gov,
karen_sessions@txed.uscourts.gov, kimberly_johnson@txed.uscourts.gov,
lance_henderson@txed.uscourts.gov, thanh_nguyen@txed.uscourts.gov)
−−Non Case Participants: USM Plano/Sherman (usm_notify_planosherman@txed.uscourts.gov),
USPO Sherman (txep_notify_sherman@txep.uscourts.gov)
−−No Notice Sent:

Message−Id:12934817@txed.uscourts.gov
Subject:Activity in Case 4:21−mj−00290−KPJ USA v. SEALED Initial Appearance − Rule 5c
Content−Type: text/html

                                          U.S. District Court

                                  Eastern District of TEXAS [LIVE]

Notice of Electronic Filing


The following transaction was entered on 4/22/2021 at 3:43 PM CDT and filed on 4/22/2021

Case Name:       USA v. SEALED
Case Number:     4:21−mj−00290−KPJ
Filer:
Document Number: 2(No document attached)
Docket Text:
 Minute Entry for proceedings held before Magistrate Judge Kimberly C Priest Johnson:
Initial Appearance in Rule 5(c)(3) Proceedings as to Jalise Middleton held on 4/22/2021.
Defendant requested appointed counsel and Phillip Linder appointed. Government did not
move to detain and defendant released on conditions. Defendant waived preliminary hearing
and the Court found probable cause. Attorney Appearances: Tracey Batson, AUSA; Phillip
Linder, CJA. (time in court: 10:45 − 11:05 *hearing held with 4:20cr358 4:21mj289) (Court
Reporter Digital.) (jwam, )


4:21−mj−00290−KPJ−1 Notice has been electronically mailed to:

Phillip A Linder &nbsp &nbsp phillip@thelinderfirm.com, attorneylinder@gmail.com

William Richardson Tatum &nbsp &nbsp William.Tatum@usdoj.gov, CaseView.ECF@usdoj.gov,
karon.moore@usdoj.gov, katie.branch@usdoj.gov

4:21−mj−00290−KPJ−1 Notice will not be electronically mailed to:




                                                                                           USCA53
    Case
      Case
         4:21-mj-290
            1:21-cr-00367-RDM
                       NEF for Docket
                                Document
                                      Entry7 Filed
                                              Filed04/26/21
                                                    04/22/2021
                                                             PagePage
                                                                  3 of 12
                                                                       1 of 1


MIME−Version:1.0
From:txedCM@txed.uscourts.gov
To:txedcmcc@txed.uscourts.gov
Bcc:
−−Case Participants: Magistrate Judge Kimberly C Priest Johnson
(jane_amerson@txed.uscourts.gov, karen_sessions@txed.uscourts.gov,
kimberly_johnson@txed.uscourts.gov, lance_henderson@txed.uscourts.gov,
thanh_nguyen@txed.uscourts.gov)
−−Non Case Participants: USM Plano/Sherman (usm_notify_planosherman@txed.uscourts.gov),
USPO Sherman (txep_notify_sherman@txep.uscourts.gov)
−−No Notice Sent:

Message−Id:12934722@txed.uscourts.gov
Subject:Activity in Case 4:21−mj−00290−KPJ USA v. SEALED Arrest − Rule 5c
Content−Type: text/html

                                          U.S. District Court

                                  Eastern District of TEXAS [LIVE]

Notice of Electronic Filing


The following transaction was entered on 4/22/2021 at 3:24 PM CDT and filed on 4/22/2021

Case Name:       USA v. SEALED
Case Number:     4:21−mj−00290−KPJ
Filer:
Document Number: No document attached
Docket Text:
Arrest (Rule 5c) of Jalise Middleton (jwam, )


4:21−mj−00290−KPJ−1 Notice has been electronically mailed to:

4:21−mj−00290−KPJ−1 Notice will not be electronically mailed to:




                                                                                           USCA54
         Case Case
              4:21-mj-00290-KPJ
                   1:21-cr-00367-RDM
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                                                                           of 12 20




                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    UNITED STATES OF AMERICA                           §
                                                       §
                                                       §
    v.                                                 § CASE NUMBER 4:21-MJ-00290-KPJ
                                                       §
                                                       §
    JALISE MIDDLETON                                   §
                                                       §
                                                       §


                      ORDER APPOINTING COUNSEL PURSUANT TO THE
                                CRIMINAL JUSTICE ACT


            This Court has determined that the above-named Defendant is financially unable to obtain

.   adequate representation in the above-styled case, and is otherwise qualified for appointment of

    counsel. Accordingly, pursuant to the Criminal Justice Act (18 U.S.C. §3006A), this Court

    appoints Phillip A. Linder, a member of the Criminal Justice Act Panel of this District to represent

    this Defendant.

            So ORDERED and SIGNED this 22nd day of April, 2021.




                                                  ____________________________________
                                                  KIMBERLY C. PRIEST JOHNSON
                                                  UNITED STATES MAGISTRATE JUDGE




                                                                                                           USCA56
      Case Case
           4:21-mj-00290-KPJ
                1:21-cr-00367-RDM
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                                                Filed 04/26/21
                                                          Page Page
                                                               1 of 1 5 PageID
                                                                        of 12 21




                           UNITED STATES DISTRICT COURT <
                            EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION                      APR 2 2 2021
 UNITED STATES OF AMERICA                         § Clerk, U.S. District Court

                                                  § Eastern District of Texas
                                                  §
 v.                                               § CASE NUMBER 4:21-MJ-00290-KPJ
                                                  §
 JALISE MIDDLETON                                 §
                                                  §
                                                  §

              WAIVER OF PRELIMINARY EXAMINATION OR HEARING

         I, JALISE MIDDLETON, charged in this District with a Complaint, having appeared

before this Court and been advised of my rights as required by Rule 5 or Rule 32.1, Fed. R. Crim.

P., including my right to have a preliminary examination/hearing, do hereby waive (give up) my

right to a preliminary examination/hearing.



April 22, 2021
Date




                                                                                                    USCA57
         Case Case
              4:21-mj-00290-KPJ
                   1:21-cr-00367-RDM
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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    UNITED STATES OF AMERICA                            §
                                                        §
                                                        §
    v.                                                  § CASE NUMBER 4:21-MJ-00290-KPJ
                                                        §
                                                        §
    JALISE MIDDLETON
                                                        §
                                                        §


                                                 ORDER

            The Court held an initial appearance on a Complaint and considered the matter of

.   Defendant’s right to a preliminary hearing. Defendant executed a waiver at hearing. Based on the

    signed waiver, the Court finds that there is probable cause to believe that the allegations have been

    committed and that Defendant, JALISE MIDDLETON, should be held over to answer to the

    Grand Jury.

             So ORDERED and SIGNED this 22nd day of April, 2021.




                                                   ____________________________________
                                                   KIMBERLY C. PRIEST JOHNSON
                                                   UNITED STATES MAGISTRATE JUDGE




                                                                                                            USCA58
     Case 4:21-mj-00290-KPJ
               Case 1:21-cr-00367-RDM
                              Document 7Document
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AO 199A (Rev. 12/11) Order Setting Conditions of Release                                         Page 1 of    Pages




                                      United States District Court
                                                                    for,he f lLp
                                                           Eastern District of Texas

                                                                                               APR 2 2021
                   United States of America ) Us                                               trict o
                                  v.                            )
                                           ) Case No. 4:21mj290 KPJ
                         Jalise Middleton )
                              Defendant )

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
     any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence
     that the court may impose.


      The defendant must appear at:
                                                                                       Place


      on                                                                 TBD
                                                                      Date and Time


      If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.




                                                                                                                  USCA59
           Case 4:21-mj-00290-KPJ
                     Case 1:21-cr-00367-RDM
                                    Document 7Document
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AO 199B (Rev. 12/20) Additional Conditions of Release                                                                             Page of Pages


                                                 ADDITIONAL CONDITIONS OF RELEASE
Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

       IT IS FURTHER ORDERED that the defendant s release is subject to the conditions marked below:

 | |) (6) The defendant is placed in the custody of:
             Person                                         or              organization
             Address                        (only            if    above                  is      an          organization)
             City               and             state               Tel.            No.
who agrees to (a) supervise the defendant, (b) use eveiy effort to assure the defendant’s appearance at all court proceedings, and (c) notify die court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.


                                                                      Signed:
                                                                                                  Custodian                                   Date
                  defendant must:
                  submit to supervision by and report for supervision to the
                  telephone number , no later than
      ( ) (b)     continue or actively seek employment.
      ( ) (c)     continue or start an education program. . i • a                                                         ex * L AD               i < r
      (QUd)       surrender any passport to: U Jctrx rVOJU C                                                  J C gjU? . ( C \ C b QJlj
      (BT (e)     not obtain a passport or other international travel document. ' ~ ~ I
      (E (f)      abide by the following restrictions on personal association, residence, or travel:                                                        t
                  (¦ u-r              Q- p G-ccen ao l                                          l? /-rx -Hb TX 1
      ( ) (g)     avoid all contact)directly or indirectly, with any person who is or may be a victim of witness in the investigation or prosecution,
                  including:

      (      ) (h) get medical or psychiatric treatment:

      ( ) (i) return to custody each at o’clock after being released at o’clock for employment, schooling,
                  or             the                following                                       purposes:


      ( ) (j) maintain residence at a half ay house or community corrections center, as the pretrial services office or supervising officer considers
                  necessary.
                  not possess a firearm, destructive device, or other weapon,   6u.rre ncUv ( veoirY S f <or
      ( ) (i)     not use alcohol ( ) at all ( ) excessively.
      (| I) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                  medical practitioner.
      (| |) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                  random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                  prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                  of prohibited substance screening or testing.
      ( ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
      (| | (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                   (| |) (i) Curfew. You are restricted to your residence every day ( ) from to , or (                                           ) as
                                 directed by the pretrial services office or supervising officer; or
                  (| |) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                activities approved in adv nce by the pretrial services office or supervising officer; or
                  (| |) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                court appearances or other activities specifically approved by the court; or
                  ( ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                                you must comply with the location or travel restrictions as imposed by the court.
                               Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.




                                                                                                                                                        USCA510
      Case 4:21-mj-00290-KPJ
                Case 1:21-cr-00367-RDM
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AO 199B (Rev. 12/20) Additional Conditions of Release Page of Pages


                                               ADDITIONAL CONDITIONS OF RELEASE

   ( )    (q) submit to the followin location monitorin technology and comply with its requirements as directed:
               (1 1) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
               (D ) (ii) Voice Recognition; or
               ( ) (iii) Radio Frequency; or
               ( )(iv) GPS.
   ( )    (r) pay all or part of the cost of location monitoring based upon your abilit to pay as determined by the pretrial services or supervisin
              officer.
   (0)* (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
              questioning, or traffic stops.




                                                                                                                                                   USCA511
     Case 4:21-mj-00290-KPJ
               Case 1:21-cr-00367-RDM
                              Document 7Document
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                                                    Filed04/26/21
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                                                                        4 of
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AO 199C (Rev. 09/08) Advice of Penalties Page _4 of                                                                           Pages

                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

      Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
      While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (z.e., in addition to) to any other sentence you receive.
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
     If, a ter release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
           not more than $250,000 or imprisoned for not more than 10 years, or both;
     (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
           more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.


                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                              City and State




                                              Directions to the United States Marshal

( X ) The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
       has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
       the appropriate judge at the time and place specified.



Date:                                             4/22/2021
                                                                                       Judicial Officer s Signature


                                                       KIMBERLY C. PRIEST JOHNSON, U.S. MAGISTRATE JUDGE
                                                                                         Printed name and title




                   DISTRIBUTION: COURT DEFENDANT PRET IAL SERVICE U.S. ATTORNEY U.S. MARSHAL


                                                                                                                                     USCA512
       Case 1:21-cr-00367-RDM Document 7 Filed 04/26/21 Page 11 of 12


                                                                                              CLOSED
Jump to Docket Table

                             U.S. District Court
                 Eastern District of TEXAS [LIVE] (Sherman)
           CRIMINAL DOCKET FOR CASE #: 4:21−mj−00290−KPJ−1

Case title: USA v. Middleton                                  Date Filed: 04/20/2021
Other court case number: 1:21−mj−381 District of Columbia     Date Terminated: 04/26/2021


Assigned to: Magistrate Judge
Kimberly C Priest Johnson

Defendant (1)
Jalise Middleton                     represented by Phillip A Linder
TERMINATED: 04/26/2021                              Barrett Bright Lassiter Linder Perez − Dallas
                                                    3300 Oak Lawn Ave
                                                    Suite 700
                                                    Dallas, TX 75219
                                                    214/252−9900
                                                    Fax: 214−252−9902
                                                    Email: phillip@thelinderfirm.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: CJA Appointment

Pending Counts                                      Disposition
None

Highest Offense Level
(Opening)
None

Terminated Counts                                   Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                          Disposition
O/D Complaint



                                                                                                USCA51
       Case 1:21-cr-00367-RDM Document 7 Filed 04/26/21 Page 12 of 12




Plaintiff
USA                                         represented by William Richardson Tatum
                                                           US Attorney's Office − Sherman
                                                           600 East Taylor, Suite 2000
                                                           Sherman, TX 75090
                                                           903−868−9454
                                                           Fax: 903−892−2792
                                                           Email: William.Tatum@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney

 Date Filed   # Page Docket Text
 04/20/2021   1       Rule 5 documents received from District of Columbia (1:21−mj−381) as to Jalise
                      Middleton: Complaint (Attachments: # 1 Order) (mem) (Entered: 04/20/2021)
 04/22/2021           Case unsealed as to Jalise Middleton defendant arrested 4/21/2021 (jwam, )
                      (Entered: 04/22/2021)
 04/22/2021        4 Arrest (Rule 5c) of Jalise Middleton (jwam, ) (Entered: 04/22/2021)
 04/22/2021   2    3 Minute Entry for proceedings held before Magistrate Judge Kimberly C Priest
                     Johnson: Initial Appearance in Rule 5(c)(3) Proceedings as to Jalise Middleton
                     held on 4/22/2021. Defendant requested appointed counsel and Phillip Linder
                     appointed. Government did not move to detain and defendant released on
                     conditions. Defendant waived preliminary hearing and the Court found probable
                     cause. Attorney Appearances: Tracey Batson, AUSA; Phillip Linder, CJA. (time
                     in court: 10:45 − 11:05 *hearing held with 4:20cr358 4:21mj289) (Court
                     Reporter Digital.) (jwam, ) (Entered: 04/22/2021)
 04/22/2021   3    5 SEALED CJA 23 Financial Affidavit by Jalise Middleton (daj, ) (Entered:
                     04/23/2021)
 04/22/2021   4    6 ORDER APPOINTING COUNSEL as to Jalise Middleton. Signed by Magistrate
                     Judge Kimberly C Priest Johnson on 4/22/2021. (daj, ) (Entered: 04/23/2021)
 04/22/2021   5    7 WAIVER of Preliminary Examination or Hearing by Jalise Middleton (daj, )
                     (Entered: 04/23/2021)
 04/22/2021   6    8 ORDER FINDING PROBABLE CAUSE as to Jalise Middleton. Signed by
                     Magistrate Judge Kimberly C Priest Johnson on 2/22/2021. (daj, ) (Entered:
                     04/23/2021)
 04/22/2021   7    9 E−GOV SEALED ORDER Setting Conditions of Release. Signed by Magistrate
                     Judge Kimberly C Priest Johnson on 4/22/2021. (daj, ) (Entered: 04/23/2021)




                                                                                               USCA52
